Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 1 of 58




                       EXHIBIT A
Copies of all pleadings, process, and orders served on
               Defendant Marlena Sonn
     Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 2 of 58 F I L E D
                                                                                      Electronically
                                                                                       CV22-00444
                                                                                 2022-05-10 01:52:47 PM
                                                                                      Alicia L. Lerud
1     CODE: 1067                                                                    Clerk of the Court
      Leigh T. Goddard, NV Bar No. 6315                                           Transaction # 9040926
2     Daniel I. Aquino, NV Bar No. 12682
      Tara U. Teegarden, NV Bar No. 15344
3     McDONALD CARANO LLP
      100 W. Liberty St., Tenth Floor
4     Reno, Nevada 89501
      Telephone: (775) 788-2000
5     lgoddard@mcdonaldcarano.com
      daquino@mcdonaldcarano.com
6     tteegarden@mcdonaldcarano.com

7     Attorneys for Plaintiffs

8           IN THE SECOND JUDICIAL DISTRICT COURT OF THE STATE OF NEVADA

9                                IN AND FOR THE COUNTY OF WASHOE

10

11    KPG INVESTMENTS INC., a Nevada                     CASE NO.: CV22-00444
      corporation; KENDALLE GETTY, an
12    individual,                                        DEPT. NO.: B8
13
                              Plaintiffs,
14
      v.
15

16    MARLENA SONN, an individual; and
      DOES 1-20,
17

18                           Defendants.

19                                          AFFIDAVIT OF SERVICE
20              Attached hereto as Exhibits 1-6 are Affidavits of Service, Affidavits of Non-Service,
21    and Affidavits of Mailing on Defendant Marlena Sonn for the Summons, Complaint, and
22    Plaintiffs’ Ex Parte Motion to Seal Complaint.
23         //
24         //
25         //
26         //
27         //
28         //
     Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 3 of 58



1                                       AFFIRMATION

2           Pursuant to NRS 239B.030, the undersigned affirms that this document does not

3     contain any personal information, as defined in NRS 603A.040.

4           DATED this 9th day of May 2022.

5                                        MCDONALD CARANO LLP

6
                                     By: /s/ Leigh T. Goddard
7                                       Leigh T. Goddard, NV Bar No. 6315
                                        Daniel I. Aquino, NV Bar No. 12682
8                                       Tara U. Teegarden, NV Bar No. 15344
                                        McDONALD CARANO LLP
9                                       100 W. Liberty St., Tenth Floor
                                        Reno, Nevada 89501
10                                      Telephone: (775) 788-2000
                                        lgoddard@mcdonaldcarano.com
11                                      daquino@mcdonaldcarano.com
                                        tteegarden@mcdonaldcarano.com
12
                                         Attorneys for Plaintiffs
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                2
     Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 4 of 58



1                                       EXHIBIT INDEX

2      Exhibit Description                                                         Page
       No.                                                                         Count
3
       1       Affidavit of Non Service re Summons, Complaint & Sealed             1
4              Complaint
       2       Affidavit of Non Service re Ex Parte Motion to Seal Complaint and   1
5              Request for Submission
       3       Affidavit of Non Service re Summons, Complaint & Sealed             1
6              Complaint
7      4       Affidavit of Non Service re Ex Parte Motion to Seal Complaint and   1
               Request for Submission
8      5       Affidavit of Service re Summons, Complaint & Sealed Complaint       1
       6       Affidavit of Service re Ex Parte Motion to Seal Complaint and       1
9              Request for Submission
10     7       Affidavit of Mailing re Summons, Complaint & Sealed Complaint       1
       8       Affidavit of Mailing re Ex Parte Motion to Seal Complaint and       1
11             Request for Submission

12
      4883-5023-2095, v. 2
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                               3
Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 5 of 58 F I L E D
                                                                     Electronically
                                                                      CV22-00444
                                                                2022-05-10 01:52:47 PM
                                                                     Alicia L. Lerud



                   EXHIBIT 1
                                                                   Clerk of the Court
                                                                 Transaction # 9040926




                   EXHIBIT 1
Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 6 of 58
Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 7 of 58 F I L E D
                                                                     Electronically
                                                                      CV22-00444
                                                                2022-05-10 01:52:47 PM
                                                                     Alicia L. Lerud



                   EXHIBIT 2
                                                                   Clerk of the Court
                                                                 Transaction # 9040926




                   EXHIBIT 2
Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 8 of 58
Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 9 of 58 F I L E D
                                                                     Electronically
                                                                      CV22-00444
                                                                2022-05-10 01:52:47 PM
                                                                     Alicia L. Lerud



                   EXHIBIT 3
                                                                   Clerk of the Court
                                                                 Transaction # 9040926




                   EXHIBIT 3
Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 10 of 58
Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 11 of 58F I L E D
                                                                     Electronically
                                                                      CV22-00444
                                                                2022-05-10 01:52:47 PM
                                                                     Alicia L. Lerud



                   EXHIBIT 4
                                                                   Clerk of the Court
                                                                 Transaction # 9040926




                   EXHIBIT 4
Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 12 of 58
Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 13 of 58F I L E D
                                                                     Electronically
                                                                      CV22-00444
                                                                2022-05-10 01:52:47 PM
                                                                     Alicia L. Lerud



                   EXHIBIT 5
                                                                   Clerk of the Court
                                                                 Transaction # 9040926




                   EXHIBIT 5
Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 14 of 58
Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 15 of 58F I L E D
                                                                     Electronically
                                                                      CV22-00444
                                                                2022-05-10 01:52:47 PM
                                                                     Alicia L. Lerud



                   EXHIBIT 6
                                                                   Clerk of the Court
                                                                 Transaction # 9040926




                   EXHIBIT 6
Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 16 of 58
Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 17 of 58F I L E D
                                                                     Electronically
                                                                      CV22-00444
                                                                2022-05-10 01:52:47 PM
                                                                     Alicia L. Lerud



                   EXHIBIT 7
                                                                   Clerk of the Court
                                                                 Transaction # 9040926




                   EXHIBIT 7
Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 18 of 58
Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 19 of 58F I L E D
                                                                     Electronically
                                                                      CV22-00444
                                                                2022-05-10 01:52:47 PM
                                                                     Alicia L. Lerud



                   EXHIBIT 8
                                                                   Clerk of the Court
                                                                 Transaction # 9040926




                   EXHIBIT 8
Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 20 of 58
Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 21 of 58
     Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 22 of 58



1                                        JURISDICTION AND VENUE

2                4.     Plaintiff Getty, on behalf of Plaintiff KPG, entered into an at-will employment

3      agreement with Defendant Sonn in Washoe County, Nevada, and a dispute has arisen with respect

4      to the performance of Defendant Sonn’s obligations, including the exercise of her fiduciary duties

5      as an officer of Plaintiff KPG.

6                5.     Additionally, the at-will employment agreement provides that the venue for this

7      action shall lie in the Second Judicial District Court for Washoe County, Reno, Nevada.

8                6.     By virtue of the allegations set forth above, jurisdiction and venue are proper in

9      this Court.

10                                        GENERAL ALLEGATIONS

11               7.     The Pleiades Trust was established for the benefit of various individuals, including

12     Plaintiff Getty.

13               8.     There are a number of trustees of the Pleiades Trust, including Plaintiff KPG

14     Investments Inc., of which Plaintiff Getty is the President.

15               9.     On November 1, 2015, Defendant Sonn and Plaintiff KPG entered into an at-will

16     employment agreement (“Employment Agreement”) whereby Defendant Sonn would serve as the

17     Vice President of Plaintiff KPG.1

18               10.    The Employment Agreement states, in relevant part: “In the performance of

19     Employee’s duties under this Agreement, Employee shall adhere to such employment standards,

20     ethical practices, and standards of care and competence as are customary for an employee holding

21     a similar position as a vice president of a corporation serving as a trustee to a family trust.”

22               11.    Defendant Sonn served as a corporate officer of Plaintiff KPG.

23               12.    Defendant Sonn is a Certified Financial Planner, whose responsibilities to Plaintiff

24     KPG included managing investments and providing financial advice.

25               13.    During the time period that Defendant Sonn was employed as Plaintiff KPG’s Vice

26     President, she also served as a personal financial advisor to Plaintiff Getty.

27

28     1
           See Exhibit 1.
                                                         2
     Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 23 of 58



1                14.    Defendant Sonn was employed in a similar fiduciary capacity by another trustee of

2      the Pleiades Trust during this time period.

3                15.    In mid-to-late 2017, Defendant Sonn urged and requested that Plaintiff Getty

4      increase Defendant Sonn’s compensation for her services as Vice President of Plaintiff KPG.

5                16.    Thereafter, Plaintiff Getty’s legal counsel prepared a document reflecting a

6      schedule for bonus payments to Defendant Sonn (the “Draft Incentive Award Letter”). On

7      October 18, 2017, legal counsel for Plaintiff Getty sent the Draft Incentive Award Letter to

8      Defendant Sonn.

9                17.    The Draft Incentive Award Letter (prepared by Plaintiff Getty’s legal counsel)

10     stated that Defendant Sonn would receive, upon the specified triggering events, two payments,

11     each of 0.00125% of the after-tax amounts received by Plaintiff Getty from the Pleiades Trust.

12               18.    After receiving the Draft Incentive Award Letter from Plaintiff Getty’s legal

13     counsel, Defendant Sonn did not address the matter further with counsel. Instead, Defendant

14     Sonn, without the knowledge of Plaintiff Getty’s legal counsel, caused the letter to be revised to

15     increase the amount of money she would receive. Specifically, while the Draft Incentive Award

16     Letter stated Defendant Sonn would receive two installments of 0.00125% of the total after-tax

17     distribution to Plaintiff Getty from the Pleiades Trust, Defendant Sonn increased this percentage

18     to two installments of 0.00375%.

19               19.    On or about November 10, 2017, Plaintiff Getty, on behalf of Plaintiff KPG,

20     executed the Incentive Award Letter as revised by Defendant Sonn (the “Incentive Award

21     Letter”).2 The Incentive Award Letter stated that Defendant Sonn would receive a one-time cash

22     bonus (the “First Incentive Bonus”) at the time of any distribution of funds to Plaintiff Getty from

23     the Pleiades Trust in excess of $25 million, equal to 0.00375% of the after-tax distribution. The

24     Incentive Award Letter further stated that on the date of the final distribution of funds to Plaintiff

25     Getty from the Pleiades Trust, Defendant Sonn would receive a one-time cash bonus (the “Second

26

27

28     2
           See Exhibit 2.
                                                         3
     Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 24 of 58



1      Incentive Bonus”) equal to 0.00375% of all after-tax distribution received after payment of the

2      First Incentive Bonus.

3                20.    The Incentive Award Letter, which Plaintiff Getty initially prepared in conjunction

4      with advice from her legal counsel, contained important safeguards to ensure consistency with the

5      best interests of Plaintiff KPG and Plaintiff Getty.

6                21.    Specifically, the Incentive Award Letter stated that Defendant Sonn would not

7      receive any payment if she did not remain employed by Plaintiff KPG at the time of any applicable

8      payment date. This requirement was vital to incentivize Defendant Sonn to adequately perform

9      her responsibilities and act in the best interests of Plaintiff KPG and Plaintiff Getty, so that she

10     would remain employed through the applicable payment dates.

11               22.    The Incentive Award Letter also conditioned payment of any bonuses to Defendant

12     Sonn on Plaintiff Getty’s receipt of funds, after deduction of applicable taxes, from the Pleiades

13     Trust. This requirement was vital to ensure that Plaintiff KPG did not become liable to Defendant

14     Sonn for sums it had not yet received, particularly given that the Pleiades Trust contained

15     investments, subject to market volatility and risk.

16               23.    In or around January 2021, the other trustee of the Pleiades Trust that had employed

17     Defendant Sonn in a similar fiduciary capacity terminated Defendant Sonn’s employment.

18               24.    Shortly thereafter, Defendant Sonn (realizing she would lose the Incentive Bonuses

19     if Plaintiff Getty also terminated her employment) formed a plan to convince Plaintiff Getty to

20     remove the safeguards protecting the interests of Plaintiff KPG and Plaintiff Getty set forth in the

21     Incentive Award Letter.

22               25.    In or around early March 2021, Defendant Sonn requested payment of an

23     additional bonus amount from Plaintiff Getty.

24               26.    In or around early March 2021, Defendant Sonn unilaterally drafted a Second

25     Incentive Award Letter, purporting to modify the terms of the initial Incentive Award Letter.3

26     Plaintiff Getty had no role in drafting the Second Incentive Award Letter.

27

28     3
           See Exhibit 3.
                                                         4
     Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 25 of 58



1               27.    On or about March 14, 2021, Defendant Sonn presented Plaintiff Getty with the

2      Second Incentive Award Letter and requested Plaintiff Getty sign the letter.

3               28.    In presenting the Second Incentive Award Letter and requesting Plaintiff Getty

4      sign the letter, Defendant Sonn falsely represented to Plaintiff Getty that the terms of the Second

5      Incentive Award Letter were fair, justified, and in the best interests of Plaintiff KPG and Plaintiff

6      Getty.

7               29.    Contrary to Defendant Sonn’s representations, the Second Incentive Award Letter

8      was not fair, justified, or in the best interests of Plaintiff KPG and Plaintiff Getty.

9               30.    The original Incentive Award Letter calculated Defendant Sonn’s potential bonus

10     as a percentage of the portion Plaintiff Getty would receive from the Pleiades Trust, after the

11     deduction of applicable taxes. However, the Second Incentive Award Letter drafted by Defendant

12     Sonn calculated Defendant Sonn’s potential bonus as a percentage of the entire Pleiades Trust (not

13     just Plaintiff Getty’s share), before any tax deductions, totaling over $1 billion, thus drastically

14     increasing Defendant Sonn’s compensation. The Second Incentive Award Letter provided that

15     Defendant Sonn’s total Incentive Award would be $2.5 million.

16              31.    In addition to unilaterally inflating her bonus, Defendant Sonn also removed the

17     safeguards present in the original Incentive Award Letter.

18              32.    The Second Incentive Award Letter removed the safeguard in the original

19     Incentive Award Letter stating that Defendant Sonn would not receive any payment if she was not

20     still employed by Plaintiff KPG at the time of any applicable payment date. Rather, Defendant

21     Sonn drafted the Second Incentive Award Letter so that she would be guaranteed her inflated $2.5

22     million even if she were terminated prior to applicable payment dates. This modification

23     benefitted Defendant Sonn’s personal interests, to the detriment of Plaintiff KPG and Plaintiff

24     Getty.

25              33.    Defendant Sonn drafted the Second Incentive Award Letter with an acceleration

26     clause stating that, if Defendant Sonn’s employment were terminated, regardless of the reason for

27     termination, payment of the entire $2.5 million would be due within 30 days of termination. While

28     the original Incentive Award Letter incentivized Defendant Sonn to adequately perform her

                                                          5
     Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 26 of 58



1      responsibilities and act in the best interests of Plaintiff KPG and Plaintiff Getty (and thus remain

2      employed through the applicable payment dates), Defendant Sonn’s modified Second Incentive

3      Award Letter did the opposite. It incentivized Defendant Sonn to perform poorly or against the

4      best interests of Plaintiff KPG and Plaintiff Getty so that Defendant Sonn’s employment would

5      be terminated, thus accelerating her (now guaranteed) payment. This modification benefitted

6      Defendant Sonn’s personal interests, to the detriment of Plaintiff KPG and Plaintiff Getty.

7             34.     The Second Incentive Award Letter removed the safeguard in the original

8      Incentive Award Letter conditioning payment of any bonuses to Defendant Sonn on Plaintiff

9      Getty’s receipt of funds from the Pleiades Trust. Instead, the Second Incentive Award Letter

10     provided Defendant Sonn would receive three bonus payments of $833,333 each, which would be

11     made to Defendant Sonn on March 31, 2021 (within weeks of Defendant Sonn presenting the

12     Second Incentive Award Letter to Plaintiff Getty), March 31, 2022, and March 31, 2023, or,

13     alternatively, within 30 days of Defendant Sonn’s termination of employment.

14            35.     While the original Incentive Award Letter protected the interests of Plaintiff KPG

15     and Plaintiff Getty by ensuring Plaintiff KPG did not become liable to Defendant Sonn for sums

16     it had not yet received from the Pleiades Trust, the Second Incentive Award Letter removed this

17     critical safeguard. The Second Incentive Award Letter not only allowed, but encouraged,

18     Defendant Sonn to create a situation where Plaintiff KPG would become liable to pay Defendant

19     Sonn sums that Plaintiff KPG had not received from the Pleiades Trust. Defendant’s removal of

20     this safeguard was particularly egregious, since the actual amounts Plaintiffs would receive were

21     subject to volatility of investments and applicable taxes. This modification benefitted Defendant

22     Sonn’s personal interests, to the detriment of Plaintiff KPG and Plaintiff Getty.

23            36.     Defendant Sonn was initially provided a copy of the Draft Incentive Award Letter

24     in 2017 via an email from Plaintiff Getty’s legal counsel. Thus, Defendant Sonn was well aware

25     that the terms of the Draft Incentive Award Letter were prepared in 2017 by legal counsel for

26     Plaintiff Getty and Plaintiff KPG, and that Plaintiff Getty and Plaintiff KPG had received legal

27     advice in connection with that agreement.

28     //

                                                        6
     Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 27 of 58



1                37.   Defendant Sonn was aware that Plaintiff Getty and Plaintiff KPG had independent

2      counsel retained that could advise on the propriety of executing the Second Incentive Award

3      Letter, and whether such action was in the best interests of Plaintiff Getty and Plaintiff KPG.

4                38.   Despite this knowledge, Defendant Sonn pressured Plaintiff Getty to sign the

5      Second Incentive Award Letter and did not suggest to Plaintiff Getty or Plaintiff KPG that their

6      legal counsel be consulted in connection with the decision to execute the Second Incentive Award

7      Letter.

8                39.   Instead, Defendant Sonn actively discouraged Plaintiff Getty and Plaintiff KPG

9      from consulting legal counsel in connection with the decision to execute the Second Incentive

10     Award Letter. Defendant Sonn falsely told Plaintiff Getty that it was not necessary for Plaintiff

11     Getty to speak to a lawyer about the Second Incentive Award Letter.

12               40.   Between March 14, 2021 and March 17, 2021, Defendant Sonn falsely represented

13     to Plaintiff Getty that the Second Incentive Award Letter was a “standard” document that served

14     only to corroborate and substantiate the terms of the original Incentive Award Letter.

15               41.   Between March 14, 2021 and March 17, 2021, Defendant Sonn falsely represented

16     the nature of the amount of her bonus under the Second Incentive Award Letter, which was in fact

17     a percentage of the total Pleiades Trust.

18               42.   When Defendant Sonn presented Plaintiff Getty with the Second Incentive Award

19     Letter and requested Plaintiff sign the letter on or about March 14, 2021, Defendant Sonn was

20     aware that Plaintiff Getty was experiencing extremely stressful issues in her personal life. In

21     addition to these issues, Defendant Sonn was aware that the anniversary date of the death of

22     Plaintiff Getty’s close family member was occurring in this immediate time period.

23               43.   Defendant Sonn expressed orally to Plaintiff Getty that the amount to which

24     Plaintiff Getty would commit by signing the Second Incentive Award Letter was $2 million, when

25     in fact the commitment stated in the Second Incentive Award Letter is $2.5 million.

26               44.   Plaintiff Getty initially expressed to Defendant Sonn that the amounts Defendant

27     Sonn was requesting (which Plaintiff believed to be $2 million based on the discussion with

28     Defendant Sonn) were quite steep, and asked for time to think about the request.

                                                        7
     Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 28 of 58



1             45.      Defendant Sonn did not respect Plaintiff Getty’s request, and instead proceeded to

2      pressure Plaintiff Getty, via oral conversations and written communications, to execute the Second

3      Incentive Award Letter and authorize its terms on behalf of Plaintiff KPG. Defendant Sonn

4      repeatedly expressed to Plaintiff Getty that she needed to hurry and sign the Second Incentive

5      Award Letter.

6             46.      Defendant Sonn advised Plaintiff Getty that everyone else in Plaintiff Getty’s life

7      was against Defendant Sonn, and discouraged Plaintiff Getty from allowing anyone else to review

8      the Second Incentive Award Letter.

9             47.      Defendant Sonn was aware of Plaintiff Getty’s personal circumstances at the time

10     that rendered Plaintiff Getty vulnerable to such pressure.

11            48.      Prior to March 2021, Defendant Sonn befriended Plaintiff Getty and gained her

12     trust so that Plaintiff Getty would not question Defendant Sonn’s advice or motives. As a result

13     of these efforts over the years, Plaintiff Getty trusted Defendant Sonn unconditionally at that point.

14            49.      Defendant Sonn had access to all of Plaintiff Getty’s personal and trust accounts.

15     Defendant Sonn assisted Plaintiff Getty with purchasing her residence. Defendant Sonn advised

16     Plaintiff Getty on how she should vote on all trust investments and related matters, and Plaintiff

17     Getty came over the years to unconditionally trust, accept, and depend upon all of Defendant

18     Sonn’s recommendations.

19            50.      Defendant Sonn leveraged this position of trust and dependence in pressuring

20     Plaintiff Getty to quickly sign the Second Incentive Award Letter.

21            51.      As a result of Defendant Sonn’s pressure to execute the Second Incentive Award

22     Letter, Plaintiff Getty executed the Second Incentive Award Letter on behalf of Plaintiff KPG on

23     March 17, 2021, just three days after Defendant Sonn presented the document to Plaintiff Getty.

24            52.      Plaintiff Getty did not have any reason to believe that her execution of the Second

25     Incentive Award Letter was inappropriate or unwarranted due to Defendant Sonn’s

26     representations that the terms of the Second Incentive Award Letter were fair, justified, and in the

27     best interests of Plaintiff KPG and Plaintiff Getty.

28     //

                                                         8
     Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 29 of 58



1             53.     Having successfully coerced Plaintiff Getty into executing the Second Incentive

2      Award Letter, Defendant Sonn immediately took steps to secure payment of funds. On March 25,

3      2021, Defendant Sonn emailed Plaintiff KPG’s Secretary and Treasurer Francis Nash (now

4      deceased) to demand payment of her first bonus award. Defendant Sonn was aware that Mr. Nash

5      had been suffering from a medical condition. Upon discovering that Mr. Nash was still sick,

6      Defendant Sonn requested that Mr. Nash ignore his other responsibilities and focus his limited

7      energy on processing her bonus payment, stating: “Rather than sending the February financial

8      statements, please save your energy to take care of making the manual payment on ADP’s

9      website.”

10            54.     As a result of Defendant Sonn’s pressuring, Plaintiff KPG made the first bonus

11     payment of $833,333 to Defendant Sonn on or about March 31, 2021.

12            55.     While both the original Incentive Award Letter and the Second Incentive Award

13     letter required Defendant to execute a written release of claims against Plaintiff KPG and its

14     affiliates prior to receiving any payments, upon information and belief Defendant Sonn obtained

15     this payment without providing such a release.

16            56.     Following Plaintiff Getty’s execution of the Second Incentive Award Letter,

17     various interested individuals associated with Plaintiff Getty learned of the Second Incentive

18     Award Letter’s terms. These individuals flagged the terms of the Second Incentive Award Letter

19     and informed Plaintiff Getty that the terms were, in fact, unusual.

20            57.     Thereafter, Plaintiff Getty realized that Defendant Sonn had taken advantage of

21     their relationship and coerced Plaintiff Getty to execute a document that was not in her best

22     interests, or the best interests of Plaintiff KPG. Given that Defendant Sonn had breached her

23     relationship of trust in this manner, Plaintiff Getty could no longer permit Defendant Sonn to

24     continue providing her services in either her capacity as Vice President of Plaintiff KPG or as a

25     personal financial advisor to Plaintiff Getty.

26            58.     On November 30, 2021, Defendant Sonn was notified that her employment with

27     Plaintiff KPG, as well as her relationship providing personal financial planning services to

28     Plaintiff Getty, was terminated.

                                                        9
     Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 30 of 58



1                                          FIRST CAUSE OF ACTION
                                            (Breach of Fiduciary Duty)
2

3             59.     Plaintiffs hereby repeat, reallege, and incorporate all the above-stated allegations

4      of this Complaint as if fully set forth herein.

5             60.     NRS 78.138(1) states: “The fiduciary duties of directors and officers are to exercise

6      their respective powers in good faith and with a view to the interests of the corporation.”

7             61.     As an officer of Plaintiff KPG, a Nevada corporation organized under Chapter 78,

8      Defendant Sonn had a duty to exercise her powers in good faith and with a view to the interests

9      of Plaintiff KPG.

10            62.     As Plaintiff Getty’s personal financial advisor, Defendant Sonn had a fiduciary

11     duty to render advice and recommendations that were in Plaintiff Getty’s best interests.

12            63.     Defendant Sonn’s unilateral preparation of the Second Incentive Award Letter to

13     disproportionately inflate her compensation and remove numerous provisions safeguarding the

14     legal interests of Plaintiff KPG and Plaintiff Getty was not in the best interests of Plaintiff KPG

15     or Plaintiff Getty, and constituted a breach of Defendant Sonn’s fiduciary duties.

16            64.     Defendant Sonn’s pressuring of Plaintiff Getty to execute the Second Incentive

17     Award Letter, and recommendation that she do so, was not in the best interests of Plaintiff KPG

18     or Plaintiff Getty, and constituted a breach of Defendant Sonn’s fiduciary duties.

19            65.     Defendant Sonn’s statements to Plaintiff Getty that she did not need to consult legal

20     counsel or seek others’ advice regarding execution of the Second Incentive Award Letter were not

21     in the best interests of Plaintiff KPG or Plaintiff Getty, and constituted a breach of Defendant

22     Sonn’s fiduciary duties.

23            66.     Defendant Sonn’s misrepresentations to Plaintiff Getty regarding the justification

24     for and effect of the Second Incentive Award Letter were not in the best interests of Plaintiff KPG

25     or Plaintiff Getty, and constituted a breach of Defendant Sonn’s fiduciary duties.

26            67.     Defendant Sonn’s concealment of material and relevant information from Plaintiff

27     Getty, including the true reasons for and effect of the Second Incentive Award Letter, was not in

28

                                                         10
     Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 31 of 58



1      the best interests of Plaintiff KPG or Plaintiff Getty, and constituted a breach of Defendant Sonn’s

2      fiduciary duties.

3                68.   Defendant Sonn’s leveraging of Plaintiff Getty’s personal circumstances and her

4      relationship of trust with Plaintiff Getty was not in the best interests of Plaintiff KPG or Plaintiff

5      Getty, and constituted a breach of Defendant Sonn’s fiduciary duties.

6                69.   As a direct and proximate result of Defendant Sonn’s conduct, Plaintiffs have

7      suffered and will continue to suffer damages in an amount to be proven at trial, in excess of

8      $15,000.

9                70.   Defendant Sonn’s conduct has required Plaintiffs to retain legal counsel to seek

10     relief. Plaintiffs are entitled to an award of their attorney’s fees and costs incurred in bringing this

11     action.

12                                      SECOND CAUSE OF ACTION
                                   (Fraudulent/Intentional Misrepresentation)
13
                 71.   Plaintiffs hereby repeat, reallege, and incorporate all the above-stated allegations
14
       of this Complaint as if fully set forth herein.
15
                 72.   Between March 14, 2021 and March 17, 2021, Defendant Sonn falsely represented
16
       to Plaintiff Getty that the Second Incentive Award Letter was a “standard” document that served
17
       only to corroborate and substantiate the terms of the original Incentive Award Letter. In fact, the
18
       Second Incentive Award Letter contained major material modifications to the terms of the original
19
       Incentive Award Letter.
20
                 73.   Between March 14, 2021 and March 17, 2021, Defendant Sonn falsely represented
21
       the nature of the amount of her bonus under the Second Incentive Award Letter, which was in fact
22
       a percentage of the total Pleiades Trust.
23
                 74.   Between March 14, 2021 and March 17, 2021, Defendant Sonn omitted facts
24
       related to the true nature of the Second Incentive Award Letter, including the fact that the terms
25
       were not in the best interest of Plaintiff KPG and Plaintiff Getty, despite the fact that Defendant
26
       Sonn was bound in good faith to disclose such facts to Plaintiff Getty. Defendant Sonn’s
27

28

                                                         11
     Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 32 of 58



1      omissions are equivalent to false representations, as they constituted indirect representations that

2      such facts did not exist.

3                75.   Defendant Sonn knew and believed that these representations were false.

4                76.   Defendant Sonn intended to induce Plaintiff Getty to execute the Second Incentive

5      Award Letter based on her representations.

6                77.   Given that Defendant Sonn was the Vice President of KPG, Plaintiff Getty’s

7      personal financial advisor, and someone that Plaintiff Getty believed to be her close personal

8      friend, Plaintiff Getty justifiably relied on Defendant Sonn’s representations.

9                78.   As a direct and proximate result of Defendant Sonn’s conduct, Plaintiffs have

10     suffered and will continue to suffer damages in an amount to be proven at trial, in excess of

11     $15,000.

12               79.   Defendant Sonn’s conduct has required Plaintiffs to retain legal counsel to seek

13     relief. Plaintiffs are entitled to an award of their attorney’s fees and costs incurred in bringing this

14     action.

15                                         THIRD CAUSE OF ACTION
                                           (Negligent Misrepresentation)
16
                 80.   Plaintiffs hereby repeat, reallege, and incorporate all the above-stated allegations
17
       of this Complaint as if fully set forth herein.
18
                 81.   Defendant Sonn, in the course of her employment with Plaintiff KPG and provision
19
       of personal financial planning services to Plaintiff Getty, failed to exercise reasonable care or
20
       competence in obtaining or communicating the information to guide Plaintiffs in connection with
21
       business transactions.
22
                 82.   Defendant Sonn supplied false information and failed to disclose material
23
       information she had a duty to disclose related to the nature of the Second Incentive Award Letter,
24
       including facts related to whether the terms of the Second Incentive Award Letter were fair,
25
       justified, and in the best interests of Plaintiff KPG and Plaintiff Getty.
26

27

28

                                                         12
     Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 33 of 58



1                83.   Given Defendant Sonn’s experience as a financial planner, status as Vice President

2      of Plaintiff KPG, and close personal and professional relationship with Plaintiff Getty, Plaintiffs

3      justifiably relied on information provided by Defendant Sonn.

4                84.   As a direct and proximate result of Defendant Sonn’s conduct, Plaintiffs have

5      suffered and will continue to suffer damages in an amount to be proven at trial, in excess of

6      $15,000.

7                85.   Defendant Sonn’s conduct has required Plaintiffs to retain legal counsel to seek

8      relief. Plaintiffs are entitled to an award of their attorney’s fees and costs incurred in bringing this

9      action.

10                                     FOURTH CAUSE OF ACTION
11                 (Rescission; Fraudulent Inducement; Unconscionability; Undue Influence)

12               86.   Plaintiffs hereby repeat, reallege, and incorporate all the above-stated allegations

13     of this Complaint as if fully set forth herein.

14               87.   In March 2021, Defendant Sonn made false representations to Plaintiffs regarding

15     the nature of the Second Incentive Award Letter, including facts related to the Second Incentive

16     Award Letter. Specifically, Defendant Sonn represented that the terms of the Second Incentive

17     Award Letter were fair, justified, and in the best interests of Plaintiff KPG and Plaintiff Getty.

18               88.   Defendant Sonn knew that the representations regarding the nature of the Second

19     Incentive Award Letter were false or that she had an insufficient basis of information for making

20     the representations.

21               89.   Defendant Sonn made the false representations with the intent that Plaintiffs would

22     rely upon the statements and execute the Second Incentive Award Letter.

23               90.   Plaintiffs justifiably relied upon Defendant Sonn’s representations in executing the

24     Second Incentive Award Letter.

25               91.   Only once other non-interested parties provided Plaintiffs advice (which Defendant

26     Sonn actively sought to prevent prior to execution of the Second Incentive Award Letter) did

27     Plaintiffs discover that Defendant Sonn’s representations were false, and that such representations

28

                                                         13
     Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 34 of 58



1      were designed to induce Plaintiffs to execute the Second Incentive Award Letter against Plaintiffs’

2      interests.

3              92.    As a result of Defendant Sonn’s fraudulent inducement, Plaintiffs are entitled to

4      rescission of the Second Incentive Award Letter.

5              93.    The Second Incentive Award Letter is both procedurally and substantively

6      unconscionable.

7              94.    Due to the circumstances surrounding the execution of the Second Incentive Award

8      Letter, including Plaintiff Getty’s reliance on Defendant Sonn to act in her best interests, which

9      caused her to believe that no review of the terms was necessary, unequal bargaining power was

10     created between Defendant Sonn and Plaintiffs, and Plaintiffs lacked meaningful opportunity to

11     agree to the Second Incentive Award Letter’s terms.

12             95.    The terms of the Second Incentive Award Letter, including the provision entitling

13     Defendant Sonn to a guaranteed schedule of payments totaling $2.5 million that would accelerate

14     to be paid immediately upon her termination for any reason, were so one-sided and oppressive as

15     to constitute substantive unconscionability.

16             96.    As a result of the unconscionable nature of the Second Incentive Award Letter,

17     Plaintiffs are entitled to rescission of the Second Incentive Award Letter.

18             97.    Defendant Sonn exerted undue influence over Plaintiff Getty in pressuring Plaintiff

19     Getty to execute the Second Incentive Award Letter, based on events in Plaintiff Getty’s personal

20     life and Defendant Sonn’s fiduciary relationship to Plaintiff Getty.

21             98.    Plaintiff Getty was unduly susceptible to the excessive and unreasonable pressure

22     Defendant Sonn placed on Plaintiff Getty to execute the Second Incentive Award Letter, the terms

23     of which were grossly one-sided and unfair to Plaintiffs.

24             99.    Plaintiff Getty assumed Defendant Sonn would not act in a manner inconsistent

25     with Plaintiffs’ welfare.

26             100.   As a result of Defendant Sonn’s exertion of undue influence over Plaintiff Getty,

27     Plaintiffs are entitled to rescission of the Second Incentive Award Letter.

28

                                                       14
     Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 35 of 58



1                101.   As a direct and proximate result of Defendant Sonn’s conduct, Plaintiffs have

2      suffered and will continue to suffer damages in an amount to be proven at trial, in excess of

3      $15,000.

4                102.   Defendant Sonn’s conduct has required Plaintiffs to retain legal counsel to seek

5      relief. Plaintiffs are entitled to an award of their attorney’s fees and costs incurred in bringing this

6      action.

7                                        FIFTH CAUSE OF ACTION
8                (Contractual Breach of the Implied Covenant of Good Faith and Fair Dealing)

9                103.   Plaintiffs hereby repeat, reallege, and incorporate all the above-stated allegations

10     of this Complaint as if fully set forth herein.

11               104.   Nevada law imposes a duty of good faith and fair dealing into every contract.

12               105.   Defendant Sonn breached the covenant of good faith and fair dealing implied in

13     the original Incentive Award Letter by performing in a manner unfaithful to its purposes.

14     Defendant Sonn breached her fiduciary duties, misrepresented material facts to Plaintiff Getty

15     regarding the Second Incentive Award Letter, concealed material facts that she had a duty to

16     disclose to Plaintiff Getty, and circumvented the terms of the original Incentive Award Letter.

17               106.   As a direct and proximate result of Defendant Sonn’s conduct, Plaintiffs have

18     suffered and will continue to suffer damages in an amount to be proven at trial, in excess of

19     $15,000.

20               107.   Defendant Sonn’s conduct has required Plaintiffs to retain legal counsel to seek

21     relief. Plaintiffs are entitled to an award of their attorney’s fees and costs incurred in bringing this

22     action.

23                                       SIXTH CAUSE OF ACTION
24                 (Tortious Breach of the Implied Covenant of Good Faith and Fair Dealing)

25               108.   Plaintiffs hereby repeat, reallege, and incorporate all the above-stated allegations

26     of this Complaint as if fully set forth herein.

27               109.   As Defendant Sonn was a fiduciary of Plaintiffs, a special relationship existed

28     between Defendant Sonn and Plaintiffs.

                                                         15
     Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 36 of 58



1                110.   As an officer of Plaintiff KPG and a trusted personal financial advisor to Plaintiff

2      Getty, Defendant Sonn was in an entrusted position.

3                111.   Defendant Sonn engaged in grievous and perfidious misconduct by seeking to

4      remove the protections of Plaintiffs’ legal rights set forth in the original Incentive Award Letter,

5      preparing the Second Incentive Award Letter, misrepresenting the nature of the Second Incentive

6      Award Letter, concealing material facts regarding the Second Incentive Award Letter, pressuring

7      Plaintiff Getty to sign the Second Incentive Award Letter, and retaining funds paid as a result of

8      her conduct.

9                112.   As a direct and proximate result of Defendant Sonn’s conduct, Plaintiffs have

10     suffered and will continue to suffer damages in an amount to be proven at trial, in excess of

11     $15,000.

12               113.   Defendant Sonn’s conduct has required Plaintiffs to retain legal counsel to seek

13     relief. Plaintiffs are entitled to an award of their attorney’s fees and costs incurred in bringing this

14     action.

15                                      SEVENTH CAUSE OF ACTION
                                     (Unjust Enrichment, In The Alternative)
16

17               114.   Plaintiffs hereby repeat, reallege, and incorporate all the above-stated allegations

18     of this Complaint as if fully set forth herein.

19               115.   Plaintiffs conferred a benefit on Defendant Sonn by providing funds to which

20     Defendant Sonn was not entitled.

21               116.   Defendant Sonn knew of the benefit conferred by Plaintiffs and has been unjustly

22     enriched, at the expense of and to the detriment of Plaintiffs.

23               117.   As a direct and proximate result of Defendant Sonn’s conduct, Plaintiffs have

24     suffered and will continue to suffer damages in an amount to be proven at trial, in excess of

25     $15,000.

26               118.   Defendant Sonn’s conduct has required Plaintiffs to retain legal counsel to seek

27     relief. Plaintiffs are entitled to an award of their attorney’s fees and costs incurred in bringing this

28     action.

                                                         16
     Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 37 of 58



1                                         EIGHTH CAUSE OF ACTION
                                              (Declaratory Relief)
2

3             119.    Plaintiffs hereby repeat, reallege, and incorporate all the above-stated allegations

4      of this Complaint as if fully set forth herein.

5             120.    An actual and justifiable controversy has arisen and now exists between Plaintiffs

6      and Defendant Sonn with respect to the formation and validity of the Second Incentive Award

7      Letter and the obligations arising therefrom.

8             121.    Plaintiffs deny that Defendant Sonn is owed the sums set forth in the Second

9      Incentive Award Letter.

10            122.    To date, Defendant Sonn has retained $833,333 she wrongfully received in

11     connection with the Second Incentive Award Letter. Defendant Sonn claims she is entitled to the

12     remaining amounts set forth in the Second Incentive Award Letter.

13            123.    These issues are ripe for judicial determination because Defendant Sonn has

14     retained amounts she wrongfully received, and maintains that she is owed further amounts.

15            124.    Plaintiffs request a judicial determination of the rights and obligations between

16     Plaintiffs and Defendant Sonn as described herein. In particular, Plaintiffs seek the following

17     declarations and determinations from the Court:

18                a. The Second Incentive Award Letter is void due to Defendant Sonn’s fraudulent

19                    inducement, the unconscionable nature of the agreement, and Defendant Sonn’s

20                    undue influence exerted over Plaintiff Getty;

21                b. Plaintiffs are entitled to repayment of the amounts paid to Defendant Sonn under

22                    the auspices of the Second Incentive Award Letter in the amount of $833,333; and

23                c. Plaintiffs are not obligated to pay Defendant Sonn any further sums under the

24                    Second Incentive Award Letter or any other purported agreement.

25            125.    Such declarations are necessary and appropriate at this time so that Plaintiffs may

26     ascertain their rights with respect to the subject matter of the parties’ dispute.

27     //

28     //

                                                         17
     Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 38 of 58



1                126.   Defendant Sonn’s conduct has required Plaintiffs to retain legal counsel to seek

2      relief. Plaintiffs are entitled to an award of their attorney’s fees and costs incurred in bringing this

3      action.

4                                            PRAYER FOR RELIEF

5                For these reasons, Plaintiffs pray for relief against Defendant Sonn as follows:

6                (1)    For general, compensatory, and punitive damages exceeding $15,000.00;

7                (2)    For reasonable attorney’s fees and costs;

8                (3)    For prejudgment and post-judgment interest on all sums awarded according to

9                       proof at the maximum legal rate; and

10               (4)    For such other and further relief as the Court may deem just and proper.

11                                               AFFIRMATION

12               Pursuant to NRS 239B.030, the undersigned affirms that this document does not contain

13     any personal information, as defined in NRS 603A.040.

14               DATED this 16th day of March, 2022.

15                                                MCDONALD CARANO LLP

16
                                              By: /s/ Leigh T. Goddard
17                                               Leigh T. Goddard, NV Bar No. 6315
                                                 Daniel I. Aquino, NV Bar No. 12682
18                                               Tara U. Teegarden, NV Bar No. 15344
                                                 McDONALD CARANO LLP
19                                               100 W. Liberty St., Tenth Floor
                                                 Reno, Nevada 89501
20                                               Telephone: (775) 788-2000
                                                 lgoddard@mcdonaldcarano.com
21                                               daquino@mcdonaldcarano.com
                                                 tteegarden@mcdonaldcarano.com
22
                                                  Attorneys for Plaintiffs
23

24

25

26

27

28

                                                         18
     Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 39 of 58



1                                            INDEX OF EXHIBITS

2         Exhibit No.                             Description             No. of Pages

3                1            November 1, 2015 Employment Agreement            5
4                2            November 10, 2017 Incentive Award Letter         3
5
                 3            March, 2021 Second Incentive Award Letter        3
6

7
       4877-3936-3606, v. 6
8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                       19
Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 40 of 58




                     Exhibit 1
Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 41 of 58
Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 42 of 58
Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 43 of 58
Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 44 of 58
Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 45 of 58




                     Exhibit 2
Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 46 of 58
Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 47 of 58
Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 48 of 58




                     Exhibit 3
Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 49 of 58




                             
Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 50 of 58
Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 51 of 58
     Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 52 of 58



 1            This Motion is based on the Points and Authorities, the Declaration of Daniel I. Aquino,

 2     attached hereto as Exhibit 1, the pleadings and papers on file herein, and such other matters as

 3     the Court may wish to consider.

 4                         MEMORANDUM OF POINTS AND AUTHORITIES

 5     I.     INTRODUCTION

 6            As set forth in the Complaint, a trust (the “Trust”) was established for the benefit of various

 7     individuals, including Plaintiff Getty and other members of the Getty family. The Trust contains a

 8     significant amount of money, a portion of which Plaintiff Getty will receive once certain conditions

 9     are met. Defendant Marlena Sonn (“Defendant Sonn”) was formerly Plaintiff Getty’s personal

10     financial advisor, as well the Vice President of Plaintiff KPG. In these capacities, Defendant Sonn

11     provided advice to Plaintiffs regarding financial matters, including matters related to funds

12     contained in the Trust.

13            The Getty family and its accompanying wealth are infamous in American history. Such

14     notoriety has caused significant safety issues in the past, which at their most extreme have included

15     kidnappings and ransom requests. Due to the wealth that remains within the Getty family and

16     Plaintiff Getty’s potential entitlement to a portion of that sum, Plaintiffs request that the Complaint

17     be sealed from the public record. In particular, Plaintiffs have necessarily alleged extensive

18     information related to: (1) the legal name of the Trust, (2) the total amount of funds in the Trust,

19     (3) information revealing or suggesting the amounts that Plaintiff Getty is eligible to receive under

20     the terms of the Trust, and (4) the conditions under which Plaintiff Getty is eligible to receive funds

21     from the Trust. The exhibits to the Complaint, which reflect the above information and are subject

22     to contractual confidentiality provisions (which were put in place, in large part, due to the safety

23     concerns set forth above) should also be sealed from the public record. Plaintiffs submit that such

24     relief is necessary to preserve the health and safety of Plaintiff Getty and her family, which

25     constitutes compelling circumstances as contemplated by SRCR 3(4)(h).

26            Further, the Complaint refers to information regarding medical conditions of a former

27     employee of Plaintiff KPG, which must be sealed to preserve privacy as set forth in SRCR 3(4)(f).

28     //


                                                         2
     Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 53 of 58



 1                Finally, Plaintiffs anticipate Defendant Sonn may assert that Plaintiffs’ allegations

 2     regarding Defendant Sonn’s conduct fall under the scope of the confidentiality obligations to

 3     which she agreed in connection with her employment with Plaintiff KPG. While Plaintiffs do not

 4     waive any arguments regarding that issue, Plaintiffs in good faith request sealing of the Complaint

 5     to preserve confidentiality of those allegations given the ex parte filing of this Motion.

 6                Accordingly, Plaintiffs move this Court for an order sealing the Complaint and Exhibits 1-

 7     3 thereto in accordance with SRCR 3(4)(f) and (h).

 8     II.        LEGAL ARGUMENT

 9                The Nevada Supreme Court has adopted rules governing the sealing of court records.

10     Specifically, “[a]ny person may request that the court seal or redact court records from a case that

11     is subject to these rules by filing a written motion….” SRCR 3(1). The Court may “order the court

12     files and records, or any part thereof, in a civil action to be sealed or redacted, provided the court

13     makes and enters written findings that the specific sealing or redaction is justified by identified

14     compelling privacy or safety interests that outweigh the public interest in access to the court

15     record.” SRCR 3(4). “The public interest in privacy or safety interests that outweigh the public

16     interest in open court records include findings that”: “(f) The sealing or redaction includes medical,

17     mental health, or tax records,” or “(h) The sealing or redaction is justified or required by another

18     identified compelling circumstance.” SRCR 3(4)(f) and (h). Further, upon filing of a motion to seal

19     or redact, the subject document shall remain under seal for a reasonable period of time until the

20     Court rules on the motion. SRCR 3(2).

21                As set forth above, sealing this information is necessary to preserve the health and safety of

22     Plaintiff Getty and her family, to maintain the privacy of medical information set forth in the

23     Complaint, and to preserve the confidentiality provisions set forth in the agreements between the

24     parties.

25                There is no public hazard in this case and there will be no prejudice to Defendant Sonn

26     because Plaintiff shall serve a copy of the Complaint on Defendant Sonn. Further, Defendant Sonn

27     already possesses all of the exhibits that Plaintiffs seek to file under seal. Exhibit 1 to the Complaint

28     is the operative employment agreement executed by Plaintiffs and Defendant Sonn. Exhibits 2 and


                                                           3
     Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 54 of 58



 1     3 are letters related to Defendant Sonn’s bonus compensation, which she possesses. As such,

 2     compelling circumstances justify sealing of the Complaint pursuant to SRCR 3(4)(f) and (h).

 3            After the appearance of Defendant, Plaintiffs respectfully request that the Court set a status

 4     conference at which less restrictive means of further confidentiality can be discussed and the

 5     position of each party can be heard.

 6     III.   CONCLUSION

 7            Based on the foregoing, Plaintiffs request that this Motion be granted, that the Complaint

 8     and exhibits thereto be filed under seal, and that such documents and information remain

 9     confidential and protected from public examination in the court record pending disposition of this

10     request pursuant to SRCR 3(2).

11                                              AFFIRMATION

12            Pursuant to NRS 239B.030, the undersigned affirms that this document does not contain

13     any personal information, as defined in NRS 603A.040.

14            DATED this 16th day of March, 2022.

15                                               MCDONALD CARANO LLP

16
                                              By: /s/ Leigh T. Goddard
17                                               Leigh T. Goddard, NV Bar No. 6315
                                                 Daniel I. Aquino, NV Bar No. 12682
18                                               Tara U. Teegarden, NV Bar No. 15344
                                                 McDONALD CARANO LLP
19                                               100 W. Liberty St., Tenth Floor
                                                 Reno, Nevada 89501
20                                               Telephone: (775) 788-2000
                                                 lgoddard@mcdonaldcarano.com
21                                               daquino@mcdonaldcarano.com
                                                 tteegarden@mcdonaldcarano.com
22
                                                 Attorneys for Plaintiffs
23

24

25

26

27

28


                                                        4
     Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 55 of 58



 1                                           LIST OF EXHIBITS

 2
        EXHIBIT                                DESCRIPTION              PAGES
 3
                1.      Declaration of Daniel Aquino                        2
 4

 5
       4887-8107-7270, v. 3
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                                       5
Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 56 of F58
                                                                    ILED
                                                                  Electronically
                                                                  CV22-00444
                                                            2022-03-17 09:28:15 AM
                                                                 Alicia L. Lerud
                                                               Clerk of the Court
                           EXHIBIT 1                     Transaction # 8951191 : yviloria




                           EXHIBIT 1
     Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 57 of 58



 1     1520
       Leigh T. Goddard, NV Bar No. 6315
 2     Daniel I. Aquino, NV Bar No. 12682
       Tara U. Teegarden, NV Bar No. 15344
 3
       McDONALD CARANO LLP
 4     100 West Liberty Street, Tenth Floor
       Reno, NV 89101
 5     Telephone: (775) 788-2000
       Facsimile: (775) 873-9966
 6     lgoddard@mcdonaldcarano.com
       daquino@mcdonaldcarano.com
 7
       tteegarden@mcdonaldcarano.com
 8
       Attorneys for Plaintiffs
 9

10           IN THE SECOND JUDICIAL DISTRICT COURT OF THE STATE OF NEVADA
11                                IN AND FOR THE COUNTY OF WASHOE
12                                                  ****
13      KPG INVESTMENTS INC., a Nevada                      CASE NO.:
        corporation; KENDALLE GETTY, an
14      individual,                                         DEPT. NO.:
15
                                  Plaintiffs,
16
        v.
17

18      MARLENA SONN, an individual; AND DOES
        1-20,
19

20              Defendant.

21                           DECLARATION OF DANIEL I. AQUINO, ESQ.

22             I, DANIEL I. AQUINO, ESQ., declare as follows:

23             1.     I am a resident of the State of Nevada, and an Of Counsel attorney with the law

24     firm of McDonald Carano LLP, counsel for Plaintiffs in the above-captioned action. I have

25     personal knowledge of the following and can competently testify thereto.

26             2.     I make this declaration in support of Plaintiffs’ Ex Parte Motion to Seal Complaint

27     (“Motion”).

28
     Case 3:22-cv-00236-ART-CLB Document 1-2 Filed 05/26/22 Page 58 of 58



 1            3.       As set forth in the Motion, Plaintiffs bring this action against Defendant for her

 2     failure to fulfill fiduciary duties as a corporate officer of Plaintiff KPG, among other grounds.

 3     Duties and obligations related to Defendant’s employment agreement and her compensation

 4     documents are also at issue. Each of the relevant documents contain an express provision

 5     providing that financial information and matters related Defendant Sonn’s compensation be kept

 6     confidential.

 7            4.       Further, due to the public nature of Plaintiff Getty’s family and its wealth (and the

 8     need to maintain confidentiality of information regarding the related trusts), safety considerations

 9     warrant confidentiality of this information.

10            5.       Because the disclosure of the terms surrounding the parties’ relationship and

11     contractual obligations is necessary to illustrate Defendant’s breaches and other conduct, the

12     substance of the Complaint discusses such information in extensive detail, throughout the

13     Complaint.      The existence of contractual provisions requiring confidentiality, safety

14     considerations, and other compelling circumstances set forth in the Motion justify sealing the

15     Complaint and exhibits under Rule 3(4)(f) and (h) of the Nevada Rules for Sealing and Redacting

16     Court Records. Less restrictive measures such as redactions would not be possible for the

17     Complaint at this time given the broad confidentiality provisions as well as the absence of

18     Defendant’s input.

19            6.       Good cause exists for considering this Motion on an ex parte basis, as Plaintiffs

20     seek to seal the Complaint, which is the initial filing in this case, and the Defendant has not yet

21     been served or appeared.

22            7.       I declare under penalty of perjury that the foregoing is true and correct.

23            Executed: March 16, 2022.

24                                                     /s/ Daniel I. Aquino
                                                      Daniel I. Aquino
25

26

27

28
                                                         2
